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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                     Southern Division

ERICK POSNER,                                    *

               Plaintiff,                        *

       v.                                        *    Case No.: 8:08-cv-03306-JKS

ADVENTIST HEALTHCARE, INC.                       *
d/b/a SHADY GROVE ADVENTIST
HOSPITAL,                                        *

               Defendant.                        *

         STIPULATION OF DISMISSAL OF ALL CLAIMS WITH PREJUDICE

       The Plaintiff, Erick Posner, by and through counsel, hereby dismisses with prejudice all

claims against all parties, including the Plaintiff’s claims against the Defendant, Adventist

HealthCare, Inc., t/a Shady Grove Adventist Hospital. The parties shall bear their own costs and

attorneys’ fees.

       This action is taken with the consent of all parties as evidenced by signature of counsel

for all parties below.

                                      Respectfully submitted,

ARMSTRONG, DONOHUE, CEPPOS,                             BROWN, GOLDSTEIN & LEVY, LLP
VAUGHAN & RHOADES, CHTD.

  /s/                                                     /s/
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(301) 251-0440                                          Counsel for the Plaintiff, Erick Posner
(301) 279-5929 – fax
Counsel for Defendant, Adventist HealthCare,
 Inc., t/a Shady Grove Adventist Hospital
(signed by Joseph B. Espo w/ permission
of Defendants’ Attorneys)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of December, 2010, a copy of the foregoing

Stipulation of Dismissal of All Claims with Prejudice was electronically filed and sent via e-mail

to:

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               Rosaline Crawford, Esquire
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               Silver Spring, MD 20910

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               Rockville, Maryland 20850



                                                 /s/
                                               Joseph B. Espo




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